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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Northern Division)

____________________________________
                                    :
UNITED STATES OF AMERICA            :
                                    :
      v.                            :             Criminal No. RDB 19-00291
                                    :
WILLIAM SOYKE,                      :
                                    :
      Defendant.                    :
____________________________________:

                         AMENDED ENTRY OF APPEARANCE

       Please enter the appearance of Hong Suk “Paul” Chung, Esq., Courtney Schaefer, Esq.

and the law firm of Shulman, Rogers, Gandal, Pordy & Ecker, P.A. as counsel for Mr. William

Soyke in the above-captioned matter.

                                                  Respectfully submitted,

                                                  SHULMAN, ROGERS, GANDAL,
                                                   PORDY & ECKER, P.A.



                                           By:               /s/
                                                  Hong Suk “Paul” Chung
                                                  Courtney Schaefer
                                                  12505 Park Potomac Ave., 6th Floor
                                                  Potomac, MD 20854
                                                  (301) 230-5200
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing Amended Entry of Appearance was
served, via ECF, this 14th day of June 2019 on: Assistant United States Attorney Jason Medinger
and Assistant United States Attorney Derek Hines, Office of the United States Attorney, 36 N.
Charles Street, 4th Floor Baltimore, MD 21201.



                                                            /s/
                                                   Hong Suk “Paul” Chung
